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UNITED STATES DISTRICT COURT Ore FLED: pp
SOUTHERN DISTRICT OF NEW YORK FILED: . a Qin ty
UNITEDHEALTHCARE OF NEW YORK, INC.,
ET AL., 17-cv-7694 (JGK)
Plaintiffs,
~ against - MEMORANDUM OPINION
MARIA T. VULLO, AND ORDER
Defendant.

 

JOHN G. KOELTL, District Judge:

The plaintiffs — UnitedHealthcare of New York, Inc., and
Oxford Health Insurance, Inc. -— sued the defendant,
Superintendent Maria T. Vullo, the Superintendent of Financial
Services of the State of New York, to enjoin enforcement of a
New York risk adjustment program entitled “Establishment and
Operation of Market Stabilization Mechanisms for Certain Health
Insurance Markets,” (the “2017 NYRA”%), 11 NYCRR 361 amend. 6. By
Opinion and Order dated August 10, 2018, this Court granted the
defendant’s motion to dismiss and denied the plaintiffs’ motions
for partial summary judgment and for an injunction.

UnitedHealthcare of N.¥., Inc. v. Vullo, No. 1/cv7694, 2018 WL

 

3849842 (S.D.N.Y. Aug. 10, 2018). The plaintiffs now move under
Federal Rule of Civil Procedure 62 for an injunction prohibiting
enforcement of tne 2017 NYRA pending appeal of this Court's

decision. The plaintiffs’ motion is denied.

 
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r.

The plaintiffs’ motions for summary judgment and an
injunction concerned the interaction between two government
programs that were developed to regulate the health insurance
market: (1) a federal risk adjustment program (“FRAP”),
authorized by the federal government as part of the Affordable
Care Act and implemented by the Department of Health and Human
Services (“HHS”} and the Centers for Medicare and Medicaid
Services (“CMS”); and (2) the 2017 NYRA, authorized by New York
State and implemented by the defendant as the state’s
Superintendent of Financial Services. New York State had opted
to have HHS implement the FRAP, but in September 2016, because
the FRAP’s methodology did not adequately address certain
factors specific to New York, the Superintendent promulgated the
2017 NYRA to regulate New York’s health insurance market in
addition to the FRAP.

The plaintiffs filed this lawsuit in response, alleging
that the 2017 NYRA was preempted by the Affordable Care Act and
that the 2017 NYRA effected an unconstitutional taking or
illegal exaction of their property. The plaintiffs then moved
for summary judgment on its claims and for a permanent
injunction against enforcement of the 2017 NYRA. In an August
10, 2018, memorandum opinion, this Court conciuded that the

plaintiffs’ claims lacked merit and accordingly denied the

 
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motions. The plaintiffs appealed that decision to the Second
Circuit Court of Appeals and now seek a stay pending appeal. If
the stay is not granted, and the 2017 NYRA is implemented, the
plaintiffs claim that “absent extraordinary circumstances” they
will have to make a payment of about $65 million to New York
State. Pls.’ Mem. at 6; Def.’s 56.1 Stmt. 7 53. The payment
would be due within ten days of receiving an invoice from the
Superintendent or of the plaintiffs’ receipt of funds under the
FRAP in October, whichever is later. 11 NYCRR § 361.9{(e) (1) (ii).
il.

There are four factors relevant to the decision whether to
issue a stay pending appeal: “(1) whether the movant will suffer
irreparable injury absent a stay, (2) whether a party will
suffer substantial injury if a stay is issued, (3) whether the
movant has demonstrated a substantial possibility, although less
than a likelihood, of success on appeal, and (4) the public

interests that may be affected.” Hirschfeld v. Bd. of Elections

 

in City of N.Y., 984 F.2d 35, 39 (2d Cir. 1993) (internal
quotation omitted). The moving party bears the “heavy” burden of
establishing that these factors weigh in its favor. See Barcia
vy. Saitkin, No. 79cv5831, 2004 WL 691390, at *1 (S.D.N.Y. Mar.
31, 2004). Consideration of these factors is holistic; a weak
showing on one factor can be counterbalanced by a strong showing

on another. See Mohammed v. Reno, 309 F.3d 95, 101 (2d Cir.

 

 
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2002). For example, a court may require “a lesser showing of
harm if [the movant] is likely to succeed on the merits and
demand a more substantial showing of harm if the likelihood of
success is low.” Purdue Pharma L.P. v. Endo Pharm. Inc., No.
OOcevs029, 2004 WL 306591, at *1 (S.D.N.Y. Feb. 17, 2004).

Til.

The plaintiffs have failed to make the strong showing
necessary to enjoin the operation of a New York State program
adopted in the public interest that this Court has found to be
constitutional.+

A.

The first factor, irreparable injury, requires an injury
“that is neither remote nor speculative, but actual and imminent
and that cannot be remedied by an award of monetary damages.”

Rodriguez ex rel. Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d

 

Cir. 1999) (quoting Shapiro v. Cadman Towers, Inc., 51 F.3d 328,

 

332 (2d Cir. 19953). The defendant claims that because the
plaintiffs’ alleged imminent harm is strictly monetary, the harm
cannot be irreparable. But the plaintiffs point out that the

Eleventh Amendment to the Constitution would foreclose any

 

1 The plaintiffs summarily argue, as to the fourth factor, “(N]either
the Government nor the public generally can claim an interest in the
enforcement of an unconstitutional law.” Pls.’ Mem. at 15 (alteration in
original) (quoting K.A. ex rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d
99, 114 (3d Cir. 2013)}. However, as discussed in the Court’s August 10,
2018, decision, and reiterated in Part III.C. below, enforcement of the 2017
NYRA is not unconstitutional.

 

 
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attempt by the plaintiffs to bring suit in federal court to

recover the money paid to New York State. See United States v.

 

New York, 708 F.2d 92, 93 (2d Cir. 1983) (per curiam). It is of
no moment whether the plaintiffs could bring suit to recover the
money in state court. Id. (“[I]n deciding whether a federal
plaintiff has an available remedy at law that would make
injunctive relief unavailable, federal courts may consider oniy
the available federal legal remedies.”).

However, the defendant points out that a potential $65
million dollar loss is a fraction of Oxford Health Insurance’s
anticipated 2017 total Federal Risk Adjustment receivable, which
will be greater than $200 million.? And $65 million is but a
small fraction of UnitedHealth Group’s reported 2016 operating
revenues, which totaled more than $184 billion.? That potential
loss is more than offset by the harm to the small insurance
market in New York State if the state program is enjoined.

Similarly, it is outweighed by the fact that it is highly

unlikely that the plaintiffs will succeed on appeal.

 

* See Dept. of Health & Human Servs., Summary Report on Permanent Risk
Adjustment Transfers for the 2017 Benefit Year, at 11-36 (July 9, 2018),
https: //downloads.cms.gov/cciio/Summary-Report-Risk-Adjustment-2017.pdf.

 

 

3 Sec. & Exch. Comm'’n., UnitedHealth Group 2016 Form 10-K, at 32 (29017),
www.unitedhealthgroup. com/~/media/5D60RBEE258F4D2FA4BA765727C41D5C.ashx.

 

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B.

As to the second factor, substantial injury to other
interested parties, delaying enforcement of the 2017 NYRA will
substantially injure the smaller insurance companies interested
in the proceeding. The Superintendent issued the 2017 NYRA
precisely because the FRAP failed to address certain factors
specific to New York - namely, it failed adequately to stabilize
New York’s small group health insurance market. See 11 NYCRR
§ 361.9{e}. Indeed, since the FRAP was implemented, two
insurance companies that operated in the small group market have
left the market, in part because of the operation of the FRAP.
Second Powell Decl. { 41, Dkt No. 40. Delayed enforcement of the
2017 NYRA, and thus continued enforcement of the FRAP, would
harm the smaller entities not adequately accounted for under the
FRAP ~ those that the 2017 NYRA is intended to benefit. Between
the 2017 NYRA’s express purpose and the demonstrated harm that
the FRAP has inflicted on insurance companies in the smali group
market, whether substantial injury will befall smaller insurance
companies is not, as the plaintiffs argue, purely speculative.

Cc.

With respect to the third factor, the plaintiffs have not
established a substantial possibility of success on the merits.
For the reasons explained in this Court’s August 10, 2018,

decision, the plaintiffs have no reasonable chance of success on

 
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appeal. It is noteworthy that in attempting to show a likelihood
of success in the current motion, the plaintiffs have in fact
included two misleading citations to the record: one in their
moving brief and one in their reply brief.

Quoting parts of the 2019 final rule, 83 Fed. Reg. 16930,
16960, which allowed states participating in the FRAP to request
a reduction of the federal risk adjustment amount, the
plaintiffs state in their moving brief:

Although States “do not generally need HHS approval”

when “acting under their own State authority and using

State resources,” CMS explained, “the flexibility

finalized in th[e 2019] rule involves a reduction to the

risk adjustment transfers calculated by HHS and will
reguire HHS review as outlined above.”

 

 

 

Pls.’ Mem. at il. But, when read in full, the referenced portion
of the final rule makes clear that the new regulation does not
displace state programs operated under state authority, such as
the current New York State program. The final rule reiterates

that “States are the primary regulators of their insurance

a

markets,” and then continues:

{W]e encourage States to examine whether any local
approaches under State legal authority are warranted to
help ease the transition for new participants to the
health insurance markets. States that take action and
make adjustments do not generally need HHS approval as
these States are acting under their own State authority
and using State resources. However, the flexibility
finalized in this rule involves a reduction to the risk
adjustment transfers calculated by HHS and will require
HHS review as outlined above.

 
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83 Fed. Reg. 16930, 16960. The piaintiffs misleadingly elide
language referring to two independent propositions: that states
have the authority to implement state risk adjustment programs,
and that HHS review is required when a state participating in
the FRAP requests a reduction to the federal risk adjustment.
The full and correct language of the regulation and its context
was correctly set out in this Court’s original opinion.
UnitedHealthcare, 2018 WL 3849842 at *9-10.

The plaintiffs repeat their misleading conflation in their
reply brief. Again quoting the 2019 final rule, id., the
plaintiffs state:

HHS explained that, although “States that take such

actions and make adjustments do not generaliy need HHS

approval,” changes that “involve[] a reduction to the

risk adjustment transfers calculated by HHS” are

specifically addressed by regulation and “require HHS

review.”
Pls.’ Reply Mem. at 6. The first clause of the quote refers to
state-implemented programs, and the second refers to the FRAP.
There is, in short, nothing in the plaintiffs’ papers that
suggests a reasonable possibility of success on appeal.
D.

Finally, the plaintiffs’ argument as to the fourth factor,

the public interest, is without merit. The plaintiffs claim

that, at most, granting their requested injunction would

modestly delay enforcement of the 2017 NYRA should the defendant

 
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succeed on appeal. The piaintiffs imply that no harm other than
mere delay would result. But this rationale ignores the impact
that delayed enforcement would have on the smaller entities that
the Superintendent determined were harmed by the FRAP. These
entities ~ the ones that the 2017 NYRA is intended to benefit —
would continue to be harmed by the FRAP’s methodology while not
accruing the benefits accorded to them by the 2017 NYRA. The
plaintiffs’ argument also ignores the Superintendent’s
determination that continued enforcement of the FRAP “will
adversely impact the small group health insurance market in [New
York] in 2017.” See 11 NYCRR § 361.9(b) (1).
CONCLUSION

The Court has considered all of the arguments raised by the
parties. To the extent not specifically addressed, the arguments
are either moot or without merit. For the reasons explained
above, the plaintiffs have failed to meet their heavy burden of
establishing that a stay is warranted. The plaintiffs’ motion
for a stay prohibiting enforcement of the 2017 NYRA pending

appeal of this Court’s August 13, 2018, judgment is therefore

 
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denied. The Clerk of the Court is directed to close Docket

number 70.

SO ORDERED.

Dated:

New York, New York
September 21, 2018

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f John G. Koeltl
United States District Judge

 
